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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                               )
FIELD McCONNELL,                               )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )       Civil Action No. 08-1600 (RMC)
                                               )
AIR LINE PILOTS’ ASSOCIATION,                  )
INTERNATIONAL,                                 )
                                               )
                Defendant.                     )
                                               )
                                               )


                                               ORDER

                 For the reasons stated in the Memorandum Opinion filed simultaneously with this

Order, it is hereby

                 ORDERED that Defendant’s motion for summary judgment [Dkt. # 28] is

GRANTED; and it is

                 FURTHER ORDERED that the Complaint is DISMISSED; accordingly, this case

is closed.

                 This is a final appealable order. See Fed. R. App. P. 4(a).

                 SO ORDERED.



Date: January 24, 2011                                           /s/
                                                   ROSEMARY M. COLLYER
                                                   United States District Judge
